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UNITED STATES DISTRICT COURT E::)(`~E-E: _W_QE,».OW _05-
WESTERN DISTRICT OF TENNESSEE '
Western l)ivision l i‘tv'lti`: ¢?. .‘.:=D F. m-

 

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UNITED STATES OF AMERICA

_V-.

Case No. 2:03cr20347-001B

SAMUEL GREEN

 

(1)

(2)

(3)

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

The defendant shall immediately advise the court, Pretrial Services Off`ice, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number

The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom 6 on Monday, 08/15/05 at 2130 p.m.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the

community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

The defendant is released on personal recognizance

Other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for

your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn

of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

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F ederal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation ft is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed I f you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a tenn of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that l arn the defendant in this case and that l am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
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Signature of/Defendant

Samuel Green

2859 Tree Brook Way
Memphis, TN 38119
901-830-0001 (c) 248-9783 (h)

D|RECT|ONS TO THE UN|TED STATES MARSHAL

|:l The defendant is ORDERED released after processing

l:l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Ofticer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: August4, 2005 C_:b- /A¢W/?J 'W/L

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

AO 199A Order Settmg Cond:llons ot Release '2'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:03-CR-20347 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

